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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:16-cv-00152-PAB-STV

   JOHN DOE,

              Plaintiff,

   v.

   UNIVERSITY OF DENVER, et al.

              Defendants.


                   DEFENDANTS’ MOTION TO EXCLUDE EXPERT TESTIMONY


              Defendants University of Denver, University of Denver Board of Trustees, Rebecca

   Chopp, Kristin Olson, Jean McAllister, Kathryne Grove, and Eric Butler (collectively

   “Defendants” or “DU”) hereby move to exclude the expert testimony of Aya Gruber and Hanna

   Stotland. As grounds for this Motion, Defendants state as follows:

        I.    INTRODUCTION

              Aya Gruber opined on the substantive and procedural aspects of DU’s investigation into

   Jane Doe’s complaint against Plaintiff John Doe, and DU’s ultimate finding that Plaintiff violated

   its non-consensual sexual-assualt policy. Specifically, Gruber states the following five opinions

   in her report:

             DU did not “complete a fair and thorough investigation.” (Attached as Exhibit 1, Gruber
              Report at 6-10, 23.)

             DU investigators made flawed and disparate credibility determinations. (Id. at 10-16.)
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          DU based its assessment of the facts on “natural” sexual relations and gender stereotyping.
           (Id.at 16-18.)

          DU “failed to adequately analyze the substantive legal standard for coercion.” (Id. at 18-
           22, 23.)

          DU investigators misinterpreted and misapplied the preponderance of the evidence
           standard. (Id. at 22–23.)

           Plaintiff engaged Hanna Stotland to provide her expert opinions concerning the

   consequences to Plaintiff due to his expulsion from DU. Specifically, Stotland states the following

   opinions in her report:

          Defendants’ finding of responsibility against Plaintiff for sexual assault and his dismissal
           from DU places a significant, negative burden on Plaintiff’s prospects for future education
           and employment. (Attached as Exhibit 2, Stotland Report at 3.)

          Plaintiff has struggled socially, feels disconnected at DePaul (where he is currently
           enrolled) and suffers from a loss of confidence. (Id. at 4.)

          Plaintiff “will require a significant expenditure of money and time over and above what
           most law school applicants must invest” due to having to self-disclose that he was
           responsible for non-consensual sexual activity. (Id.)

          Plaintiff will encounter impediments in the character and fitness process of any state bar
           exam without professional help. (Id. at 5–6.)

   Defendants respectfully request that the Court preclude both Gruber and Stotland from offering

   expert opinions, for the reasons discussed below.

    II.    STANDARD OF REVIEW

           The admission of expert testimony is governed by Rule 702 of the Federal Rules of

   Evidence. Rule 702 of the Federal Rules of Evidence provides that:

           A witness who is qualified as an expert by knowledge, skill, experience, training,
           or education may testify in the form of an opinion or otherwise if: (a) the expert’s
           scientific, technical, or other specialized knowledge will help the trier of fact to
           understand the evidence or to determine a fact in issue; (b) the testimony is based



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          on sufficient facts or data; (c) the testimony is the product of reliable principles and
          methods; and (d) the expert has reliably applied the principles and methods to the
          facts of the case.

   The proponent of the expert must demonstrate by a preponderance of the evidence that the expert’s

   testimony and opinion is admissible. United States v. Nacchio, 555 F.3d 1234, 1241 (10th Cir.

   2009); United States v. Crabbe, 556 F. Supp. 2d 1217, 1220 (D. Colo. 2008). In determining

   whether expert testimony is admissible, the Court must first determine whether the expert is

   qualified “by knowledge, skill, experience, training, or education” to render an opinion. Nacchio,

   555 F.3d at 1241. If the expert is sufficiently qualified, the court must determine whether the

   expert’s opinion is sufficiently “relevant to the task at hand,” such that it “logically advances a

   material aspect of the case,” Norris v. Baxter Healthcare Corp., 397 F.3d 878, 884, 884 n.2 (10th

   Cir. 2005), and reliable under the principles set forth in Daubert. 103 Inv’rs I, L.P. v. Square D

   Co., 470 F.3d 985, 990 (10th Cir. 2006); see also United States v. Gabaldon, 389 F.3d 1090, 1098

   (10th Cir. 2004) (quoting Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 589 (1993)) (“Rule

   702 imposes on the district court a “gatekeeper function to ‘ensure that any and all scientific

   testimony or evidence admitted is not only relevant, but reliable.’”). “Ultimately, the Court must

   determine whether the expert’s opinion would assist the trier of fact in understanding or

   determining a fact at issue in the case.” King v. Allstate Ins. Co., No. 11-cv-00103, 2013 WL

   3943607, at *1 (D. Colo. July 31, 2013).

   III.   ARGUMENT AND ANALYSIS

      A. Aya Gruber is Not Qualified as an Expert in Title IX Investigations and Proceedings.

          Gruber lacks the requisite knowledge, training, and experience to be qualified as an expert

   in Title IX investigations and proceedings. Gruber’s undergraduate degree is Philosophy. She




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   received her Juris Doctorate, but has no other advanced degrees or formal education. Following

   law school, Gruber’s only professional experience involved litigating criminal cases. (Attached

   as Exhibit 3, Gruber CV at 10.) Since entering academia, Gruber’s area of scholarship and

   teaching is focused on criminal law.1 Not one of Gruber’s publications concerns sexual-assault

   investigations on a college campus or Title IX proceedings.2

          Gruber has no experience or expertise in the area she is offered as an expert: how to conduct

   a sexual-assault disciplinary investigation on a college campus. Gruber has never held the role of

   Title IX coordinator at any college or university. She has never been involved in a single campus

   sexual-misconduct case as an investigator or a decision-maker. In addition, Gruber has never

   interviewed a victim of sexual assault or conducted a sexual-assault investigation. (Attached as

   Exhibit 4, Gruber Colgate Dep. Tr. at 27:4-14.) In a recent Title IX case, in which Aya Gruber

   was engaged as an expert, the court examined her knowledge, skill, experience, training, and

   education, and concluded that she was not qualified to render an expert opinion concerning a

   university’s investigative techniques or other aspects of the Title IX investigation. Doe v. Colgate

   Univ., No. 15-cv-1069, 2017 WL 4990629, at *10 (N.D.N.Y. Oct. 31, 2017) (“[Aya Gruber] has




   1
     Of the seven courses Gruber regularly teaches, six of them are focused on criminal law (she also
   teaches torts). Gruber categorizes her areas of research as: “Substantive Criminal Law, Criminal
   Procedure, Feminism, Critical Race Theory, Critical Legal Studies, Comparative Criminal Law
   and Procedure.” (Exhibit 3, Gruber CV at 1.)
   2
     In her eleven-page resume, Gruber lists only three instances in which she spoke on Title IX, none
   of which is related to Title IX investigations of a student: (1) Conference Presentation, Anti-Rape
   Culture, NY, New York January 2016 (Invited) Presented article at the AALS “hot topic” panel
   on Title IX; (2) Panelist, Title IX and Campus Rape Policy Reform, Cambridge, MA September
   2014 (Invited) Presented talk and participated in panels at Harvard Law School “teach-in”; (3)
   REASON, “Law Professors Against Title IX” (Media Commentary 2014-16).


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   never conducted an investigation of an alleged sexual assault, attended a Title IX training, or

   served as a Title IX investigator.”) (Attached as Exhibit 5, Colgate Decision).

          Further, Gruber’s lack of familiarity with student-conduct proceedings is evident. Indeed,

   Gruber’s entire analysis of the investigative report stems from a criminal-law perspective. Gruber

   begins her report with a historical recounting of “rape laws.” (Exhibit 1, Gruber Report at 3.) In

   explaining DU’s “flawed analysis of the substantive law,” Gruber utilizes the standard of liability

   in criminal and civil law. (Id. at 18.) Her report is replete with criminal law terms and standards:

              “Basic substantive criminal and civil law principles dictate that a defendant cannot be
               liable for the undisclosed intentions of the victim, but he must have intent regarding
               whether or not the person felt pressured.” (Id. at 5.)

              “The basic dictates of substantive due process do not allow for a coercion policy so
               vague that liability can be determined simply by an investigator’s gut feeling.” (Id. at
               6.)

              “Rape-shield laws prevent criminal juries from hearing certain evidence of
               complainants’ past sexual conduct because such evidence may prejudice jurors and
               lead them to acquit despite evidence that sex was coerced.” (Id. at 17.)

              “A basic rule of statutory interpretation is that the reader should give meaning to every
               word in the statute.” (Id. at 19.)

              “[T]he investigators rendered the policy unconstitutionally vague, that is, unable to
               provide sufficient notice to the public as to the conduct prohibited.” (Id. at 21)
               (emphasis added).)

              “The investigators appeared to be unaware that for one to be civilly or criminally
               liable, the person must, in addition to performing the prohibited act, intend the
               prohibited conduct.” (Id.)

   Gruber admits in her deposition that in terms of best practices for conducting examinations of

   witnesses and the overall investigation itself, she is adopting a notion of fairness based “on what’s




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   constitutionally required.” (Attached as Exhibit 6, Gruber Dep. Tr. at 56:4–20.) With respect to

   constitutional standards, she also testifies as to the following:

           Q: Well, whether it was on its face or as applied, your conclusion was that DU’s
           policy fell short of constitutional standards; isn’t that right?

           A: Yes, I think it fails to give the kind of notice that’s required under constitutional
           standards.

   (Id. at 57:13–19.) It is well settled that “the federal Constitution does not establish the level of due

   process” that a private university, such as DU, has to give a student respondent in a disciplinary

   proceeding. Bleiler v. Coll. Of Holy Cross, No. 11-cv-11541, 2013 WL 4714340, at *4 (D. Mass.

   Aug. 26, 2013). Because Gruber does not have the requisite “knowledge, skill, experience,

   training, or education” to be an expert on conducting sexual-assault investigations on a college

   campus, her testimony and report must be precluded.

       B. Gruber’s Opinions Are Improper and Insufficient and, thus, Should be Precluded.

               1. Gruber Cannot Testify About Legal Conclusions.

           Setting aside Gruber’s qualifications, her expert report is nothing more than a veiled

   attempt to instruct the jury on how to decide this case. The Tenth Circuit has held that expert

   testimony that “articulates the ultimate principles of law governing the deliberations of the jury”

   is inadmissible. Specht v. Jensen, 853 F.2d 805, 808 (10th Cir. 1988) (en banc), cert. denied 488

   U.S. 1008 (1989). Gruber opines that the Defendants failed to conduct an adequate, reliable, and

   impartial investigation into the alleged sexual-assault complaint against Plaintiff, which led to

   Plaintiff’s alleged discriminatory expulsion—the outcome Plaintiff is ultimately asking the jury to

   find. For example, Gruber offers the following findings to support her conclusion that DU’s

   investigation was defective and those defects contributed to the discriminatory outcome:




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                 “Despite the investigators’ failure to distinguish between authentic and prompted
                  testimony, the statements themselves evidence that the investigators were pushing
                  witnesses to testify consistently with Complainant’s initial statement.” (Exhibit 1,
                  Gruber Report at 7.)

                 “The investigators stretch to resolve both these issues in Complainant’s favor, but
                  more importantly, they simply ignore the grave inconsistencies between her first
                  and second statements, inconsistencies that bear directly on what happened in the
                  period of time between waking up and having sex and whether it involved
                  coercion.” (Id. at 10.)

                 “More importantly, the training [at DU] does not tell trainees to put aside
                  preexisting notions like ‘victims lie,’ and look at the facts of each particular case.
                  Rather, it tells them what their preexisting beliefs should be: One must assume that
                  complainants rarely lie or exaggerate. Consequently, the University appears to
                  deprioritize training in investigative technique, evidentiary rules, sexual assault
                  law, and standards of proof, in favor of training designed to predispose investigators
                  to find guilt.” (Id. at 5.)

                 “The [Investigation] Report is rife with methodological and analytical flaws, and it
                  evidences a lack of basic understanding of sexual assault laws.” (Id.)

                 “Stereotypes also play a role. The investigators characterize Complainant’s
                  version, in which the man is the sexual aggressor, as more common-sensibly
                  ‘natural’ than the Plaintiff’s version, in which the woman is an eager and
                  experienced party.” (Id.)

                 “I cannot say for sure whether such errors are due to mere malfeasance or to bias,
                  but I suspect that some form of bias played a role.” (Id. at 6.)3

                 “They know that federal funding depends on being Title IX compliant which
                  translates into ‘zero tolerance’ for sexual assault. This helps explain why all the
                  lapses in investigative technique, problems with marshaling evidence, and flawed
                  legal reasoning inured to the benefit of Complainant and detriment of Plaintiff.”
                  (Id. at 23.)

   Gruber’s deposition corroborates her report in that she is opining on legal conclusions.



   3
    In addition to the sheer guesswork inherent in this opinion, Gruber “is unqualified to render an
   opinion regarding the thoroughness of or presence of bias in [the Title IX] investigation.” See
   Colgate Univ., 2017 WL 4990629, at *11.



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          Q. But isn’t it true that your opinion as an expert here is that given all of the flaws
          and deficiencies in the investigation that the conclusion that there was
          nonconsensual sex is flawed as well?
          A. Yes.
          (Exhibit 6, Gruber Dep. Tr. at 88:13–18.)

          Q. Right. And you are attempting to guide the jury as to the serious flaws in the
          process which led to an erroneous outcome; isn’t that right?
          A. I am trying to point out the serious flaws in the process, correct.
           (Id. at 89:19–24.)

          Q. But you are saying that the deficiencies in the investigation were a result of
          certain stereotypical notions about gender; isn’t that the – one of the cruxes of your
          report?
          A. Yes. One of the things I said is it seemed to me that some stereotypical notions
          about gender and sexuality were evidenced in the report.
          Q. And your conclusion is that those investigators actually did engage in that
          stereotyping of – of the – of the sexes?
          A. I do think there were portions of that where there was sex stereotyping.
          (Id. at 92:3–14.)

          Q. I understand that you could not – you cannot render an opinion with absolute
          certainty in this case; but isn’t it your opinion as an expert that given the flaws that
          you pointed out in the process and given the sexual stereotyping that took place in
          the minds of the investigators, that it is more likely than not that the outcome
          was tainted by a chauvinistic view of the sexes and sexual stereotyping?
          A. More likely than not that the investigators, say, harbored views about men as
          sexual aggressors and women as sort of passive gatekeepers? That’s kind of what
          they use in the social science literature. Do I believe it’s more likely than not
          that at least one of the investigators harbored those type of views? I do.
          (Id. at 95:19–96:10 (emphasis added).)

   All of these opinions are ultimate conclusions for the jury to make and, thus, Gruber’s testimony

   should be precluded. Colgate Univ., 2017 WL 4990629, at *10 (“the Court finds Gruber’s

   conclusion improper because the question of whether there were defects in the proceedings against

   Plaintiff that impacted the outcomes of his hearings is . . . a legal conclusion.”)

              2. Gruber’s Testimony will Not Help the Jury.




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          Whether testimony is a proper subject for expert opinion is a question of common sense—

   i.e., whether an average juror is “qualified to determine intelligently and to the best possible degree

   the particular issue without enlightenment from those having a specialized understanding of the

   subject involved in the dispute.” Fed. R. Evid. 702 advisory committee’s note; see also Water Pik,

   Inc. v. Med–Sys., Inc., 726 F.3d 1136, 1156 (10th Cir. 2013) (expert testimony not needed in

   trademark confusion case turning on the similarity or dissimilarity of two marks, because it was

   “a matter easily evaluated by laymen within the realm of their common knowledge and

   experience”).

          Throughout her report, and particularly in the section titled “Flawed and Disparate

   Credibility Determinations,” Gruber steps into the jury box, and makes various credibility

   assessments. Gruber admitted to making assessments as to the credibility of evaluations made by

   the investigators. (Exhibit 6, Gruber Dep. Tr. at 25:6–9.4) She further admitted that credibility

   assessments are not only confined to what is on paper, but also based on nonverbal cues.

          Q. Right. And you’re offering your opinion as to whether or not they did those
          credibility assessments in the right way or the wrong way, in the ideal way or the
          less-than-ideal way; isn’t that right?
          A. I think that’s fair.
          Q. Now, credibility assessments are – are not just confined to – to what’s on paper;
          isn’t that right? My question is: Nonverbal cues are very important in credibility
          assessments; wouldn’t you agree?
          A. I would agree to that.
          Q. It’s not just what somebody wrote, but also how that person said it, right?
          A. That could be an important factor in determining credibility if you do that well --

   (Id. at 25:16-26:7.) Without the benefit of these non-verbal cues or any direct interactions with

   the witnesses, Gruber passes judgment on, and second-guesses, the correctness of the


   4
     Q. Well, you’ve made assessments as to the credibility of evaluations made by the investigators
   in this case, right? A. Yes. (Exhibit 6, Gruber Dep. Tr. at 25:6–9.)


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   investigators’ credibility assessments. Because credibility determinations plainly encroach upon

   the jury’s role, Gruber’s testimony must be precluded. “[E]xpert testimony which does nothing

   but vouch for the credibility of another witness encroaches upon the jury’s vital and exclusive

   function to make credibility determinations, and therefore does not assist the trier of fact as

   required by Rule 702.” United States v. Charley, 189 F.3d 1251, 1267 (10th Cir. 1999).

          Further, Gruber’s testimony will confuse, rather than help, the jury. For example, she

   criticizes DU’s OEO Policy for not complying with the federal rules of criminal procedure (Exhibit

   1, Gruber Report at 18–22), based on her mistaken belief that criminal procedures apply to a private

   university’s student disciplinary process. See e.g., Questions and Answers on Title IX and Sexual

   Violence, U.S. DEPT. OF EDUC. (Aug. 29, 2014) (“[A] Title IX investigation will never result in

   incarceration of an individual and, therefore, the same procedural protections and legal standards

   [from a criminal investigation] are not required.”).5 A jury listening to Gruber is required to

   assume that criminal procedures govern this case. Additionally, Gruber gratuitously offers her

   personal preference: “In my opinion, principles of basic fairness, legality, and impartiality dictate

   that such a process be far better than the one afforded to Plaintiff.” (Exhibit 1, Gruber Report at

   24.) The issue in this case is whether DU’s OEO Policies and actions were discriminatory and

   whether DU followed those policies in the Title IX proceeding concerning Plaintiff, not whether

   another policy or process would have been more superior or preferable.

              3.   Gruber’s Testimony Should be Excluded because it is Not Based on Reliable
                   Data or Methodology.

   5
     While the Department of Education has withdrawn this statement of policy, the fact that criminal
   standards are not used in a university’s Title IX investigation still holds true. See also, Colgate
   Univ., 2017 WL 4990629, at *11 (“[W]hat constitutes appropriate conduct can vary dramatically
   between criminal and Title IX investigation”).



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          To be reliable, an expert’s scientific testimony must be based on scientific knowledge,

   which “implies a grounding in the methods and procedures of science” based on actual knowledge,

   not “subjective belief or unsupported speculation.” Daubert, 509 U.S. at 590. When assessing

   reliability, “the court may consider several nondispositive factors: (1) whether the proffered theory

   can and has been tested; (2) whether the theory has been subject to peer review; (3) the known or

   potential rate of error; and (4) the general acceptance of a methodology in the relevant scientific

   community.” 103 Investors I, 470 F.3d at 990 (citing Daubert, 509 U.S. at 593–94).

          Here, Gruber’s opinion is unreliable because it is not anchored on any standards,

   regulations, or other objective evidence related to university investigations of sexual assaults.

   Gruber’s testimony is based on her own subjective belief and unsupported, conclusory speculation.

   For example, Gruber opines as to the following:

                   “But the training used by the University appears to be more biasing than de-
                    biasing. It is unlikely that self-selecting Title IX investigators, in contrast to
                    jurors off the street, harbor negative stereotypes such as ‘all rape complainants
                    lie.” (Exhibit 1, Gruber Report at 5 (emphasis added).)

                   “[T]he University appears to deprioritize training in investigative technique,
                    evidentiary rules, sexual assault law, and standards of proof, in favor of training
                    designed to predispose investigators to find guilt.” (Id. (emphasis added).)

                   “Other courses offered or endorsed by the University and attended by various
                    OEO staffers appear to be about predisposing staff to a particular set of views
                    on sexual assault and the inherent credibility of complainants and respondents.”
                    (Id. (emphasis added).)

                   “I cannot say for sure whether such errors are due to mere malfeasance or to
                    bias, but I suspect that some form of bias played a role.” (Id. at 6 (emphasis
                    added).)

   Gruber does not cite to any methods or procedures that have been tested or peer reviewed to

   support these statements. See Bazile v. City of New York, 215 F. Supp. 2d 354, 365 (S.D.N.Y.


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   2002) (holding that expert was unqualified because, even though expert had “experience . . . in

   supervision of law enforcement personnel, he [had] none in conducting internal disciplinary

   investigations”).

       C. Hanna Stotland’s Opinions Should be Precluded.

          Stotland’s expert opinion concerns Plaintiff’s intention to enter law school, his future

   professional prospects, and his behavior and mental processes. Plaintiff’s intention to enter law

   school and his future professional prospects are purely speculative and, thus, her opinions should

   be precluded. Further, Stotland is not qualified to opine on Plaintiff’s behavior or mental processes

   and, thus, her opinions concerning Plaintiff struggling socially, feeling disconnected, and suffering

   from a loss of confidence should also be precluded. Lastly, any testimony concerning Stotland’s

   version of “relevant facts” should be precluded because the determination of relevant facts are

   within the province of the jury.

          Stotland’s expert opinion—the impact of John Doe’s expulsion from DU on his future

   educational and employment prospects—is drawn from her having “worked with more than a

   dozen students accused of sexual misconduct under Title IX at U.S. educational institutions.”6

   Exhibit 2, Stotland Report at 1. Stotland professes to be “the only educational consultant in the

   United States who has built a specialty assisting students who have been accused or disciplined

   under Title IX.” Id. She opines that John Doe’s expulsion “is and may continue to be a serious

   harm to his academic and professional future.” Id. at 6. Plaintiff’s intention to enter law school



   6
     Working with a dozen students “by crafting an optimal, honest set of essays” for college
   admission (Exhibit 2, Stotland Report at 5) hardly meets the requisite “knowledge, skill,
   experience, training or education” to qualify as an expert in “forecasting” a student’s education
   and employment prospects.


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   and his future professional prospects are purely speculative and, thus, Stotland’s opinions should

   be precluded.

          To begin with, Stotland’s entire report is premised on her assumption that John Doe plans

   to attend law school in the future. (Id. at 4 (“John Doe currently expresses an interest in attending

   law school.”).) Whether John Doe, a sophomore at DePaul University at the time of Stotland’s

   report, attends law school is entirely conjectural. In her deposition, Stotland admitted that she

   never spoke to Doe concerning his “interest” in law school. (Exhibit 7, Stotland Dep. Tr. at 33:9–

   15.) Stotland further recognized that it is not unusual for sophomores in college to change their

   minds about graduate school:

          Q. And by that same token, it is not very common for a sophomore to be that
          resolute in his intention to go to law school; isn’t that right?
          A. I don’t know that I agree that it’s unusual for sophomores to have resolute plans
          about graduate school. I would say that they – or it’s not unusual for them to change
          their minds.
          Q. And you know, from reading the record, that [Doe] went to DU as an
          engineering student. We talked about that, right?
          A. Yes.
          Q. And you also know, I take it, that he had a stint in acting school; is that right?
          A. Well, he described, in his deposition, that he was taking courses at a for-profit
          school in Los Angeles, I believe.
          A. Pursuing acting, right?
          A. Yes.
          Q. So, essentially, your report presupposes or assumes that this proposition is true;
          i.e., [Doe] intends to go to law school? Isn’t that right?
          A. Well, if [Doe] does not intend to go to law school, then the portion of his report
          concerning his law school prospects is less relevant. . . .

   (Id. at 40:4–41:7.) In a clear acknowledgment of the speculative nature of her opinion, Stotland

   specifically testified that her report attempts to “forecast” Doe’s educational and employment

   prospects:




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          Q. Okay. Let me help you out here. Your task seems to be to try to forecast [Doe’s]
          educational prospect and employment prospects in light of his Title IX violation
          record; isn’t that right?
          A. Yes. Forecast is a good word to use.

   (Id. at 35:24–36:4.) Stotland simply hypothesizes that, with a Title IX record, John Doe is less

   likely to be accepted into a top-tier law school, which, in her opinion, “offer[s] more and better

   opportunities to their graduates.” (Exhibit 2, Stotland Report at 5.) Recognizing that “outstanding

   and successful lawyers may be found among the alumni of every accredited law school,” Stotland

   nonetheless opines that John Doe’s “chances” of finding employment and “earn[ing] more” may

   be limited by his possible acceptance into a lower-ranked law school. (Id.) Stotland further opines:

   “Absent his expulsion, I would have no equivalent concerns about his prospects; the university

   discipline record is the direct cause of my opinion.” (Id.) However, during her deposition, Stotland

   admitted that Doe’s GPA performance, LSAT score, and career choices would affect his job

   prospects in the future. (Exhibit 7, Stotland Dep. Tr. at 36:12–37:21.) Accordingly, Stotland’s

   opinion regarding Plaintiff’s intention to go to law school and his future academic and professional

   prospects are entirely speculative and should be precluded. Daubert, 509 U.S. at 590 (finding, to

   be reliable, an expert’s testimony cannot be based on “subjective belief or unsupported

   speculation”).

          Further, Stotland should be precluded from opining that Plaintiff has experienced “social

   struggle, sense of disconnection and loss of confidence.” (Exhibit 2, Stotland Report at 4.)

   Stotland is not a psychologist, social worker, or any other type of medical professional (attached

   as Exhibit 8, see generally Stotland CV) and, thus, she is not qualified to opine on Plaintiff’s

   alleged behavioral or mental challenges. Nacchio, 555 F.3d at 1241 (In determining whether




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   expert testimony is admissible, the Court must first determine whether the expert is qualified “by

   knowledge, skill, experience, training, or education” to render an opinion.).

          Stotland’s expert report also includes a section titled “Summary of relevant facts” where

   she describes the sexual encounter of John and Jane Doe on October 8, 2014. The “Summary of

   relevant facts” section is not relevant to Stotland’s conclusion that “John Doe’s expulsion from the

   University of Denver for sexual assault is and may continue to be a serious harm to his academic

   and professional future.” See F.R.E. 401. The only facts that are relevant to Stotland’s expert

   report are that DU found John Doe responsible for non-consensual sexual contact and expelled

   him from the University.7

          The Court should exclude any testimony concerning Stotland’s summarization of the

   “facts” because credibility determinations and the determination of “relevant facts” are within the

   province of the jury. Bledsoe v. Bruce, 569 F.3d 1223, 1237 (10th Cir. 2009) (“Credibility

   determinations are within the province of the jury.”); United States v. Toledo, 985 F.2d 1462, 1470

   (10th Cir. 1993) (“The credibility of witnesses is generally not an appropriate subject for expert

   testimony.”).

    IV.   CONCLUSION

          WHEREFORE, Defendants respectfully request that the Court exclude the expert

   testimony of Aya Gruber and Hanna Stotland in its entirety.


   7
     Further, in this same section, Stotland makes credibility determinations as to Jane Doe and
   Resident Director Mariano, which is improper. For example, Stotland states:
          The documents I reviewed contained no coherent explanation for the evolution of
          Jane’s recollection, or why the earliest reported recollection should not be viewed
          as the most reliable – or, in the alternative, why Resident Director Mariano would
          have lied or erred as to the central claim in his brief report.
   (Exhibit 2, Stotland Report at 3.)


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         Respectfully submitted this 29th of January, 2018.

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                                 CERTIFICATE OF SERVICE

           I hereby certify that on this 29th of January, I electronically filed the foregoing

   DEFENDANTS’ MOTION TO EXCLUDE EXPERT TESTIMONY with the Clerk of Court

   using the CM/ECF system, which will send notification of such filing to the following e-mail

   addresses:


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